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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                          :      CHAPTER 7
                                                :
KIERIAN KEMJIKA C. NWUGWO,                      :      CASE NO. 23-57471-BEM
                                                :
          Debtor.                               :

                      REPORT OF CHAPTER 7 TRUSTEE OF ASSETS
                           AND REQUEST FOR BAR DATE

          COMES NOW S. Gregory Hays, Chapter 7 Trustee, and reports to the Court that he may

recover assets for distribution to creditors and hereby requests that the Court set a bar date for

claims.

          This 5th day of March, 2024.

                                                    /s/ S. Gregory Hays
                                                    S. Gregory Hays
                                                    Chapter 7 Trustee
Hays Financial Consulting, LLC
2964 Peachtree Road, NW, Ste. 555
Atlanta, GA 30305
(404) 926-0060
